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                             EXHIBIT L
                                      to
                      PLAINTIFF’S OPPOSITION TO
   THE UVA DEFENDANTS’ MOTION FOR PROTECTIVE ORDER
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


                                                )
 KIERAN RAVI BHATTACHARYA,                      )
                                                )
                Plaintiff,                      )
                                                )
        v.                                      )   Civil Action No.: 3:19-CV-00054-NKM-JCH
                                                )
 JAMES B. MURRAY, JR., et al.,                  )
                                                )
                                                )
                Defendants                      )
                                                )


      DEFENDANTS’ AMENDED AND SUPPLEMENTAL INITIAL DISCLOSURES

        Defendants, by counsel, and in accordance with Federal Rule of Civil Procedure

 26(a)(1)(A) and (e) amend and supplement their Initial Disclosures as follows. Defendants make

 these initial disclosures based on information now reasonably available to them and reserve the

 right to further amend, modify, or supplement these disclosures as discovery in this case

 progresses.

 I.     Rule 26(a)(1)(A)(i): The name and, if known, the address and telephone number of each

 individual likely to have discoverable information – along with the subjects of that information –

 that the disclosing party may use to support its claims or defenses, unless the use would be solely

 for impeachment.

        Amended and Supplemental Response: In addition to the individuals identified below,

 the Defendants reserve the right to rely on and identify as individuals likely to have discoverable

 information, everyone listed in the Plaintiff’s Initial Disclosures and all individuals listed or

 identified in discovery and/or in the documents identified herein. By identifying the individuals
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 in this response, the Defendants do not represent or concede that any of the information

 possessed by such individuals is relevant or admissible. Discovery will be commenced and

 continuing, and the Defendants reserve the right to revise or supplement this response.

  Name                   Address and Telephone Number            Subjects of Information

  Kieran Bhattacharya    Mr. Bhattacharya may be contacted       The Plaintiff has information
  (The Plaintiff)        through his counsel at Foley &          about the allegations in the
                         Lardner, LLP.                           Amended Complaint and his
                                                                 inappropriate, aggressive, and
                                                                 unprofessional behavior
                                                                 directed towards members of
                                                                 the University of Virginia
                                                                 (“UVA”) community in 2018,
                                                                 his online comments about
                                                                 UVA and UVA faculty
                                                                 following his 2018 suspension,
                                                                 his history of mental health
                                                                 issues including numerous
                                                                 psychiatric hospitalizations, his
                                                                 failure to properly treat his
                                                                 mental illness, and numerous
                                                                 instances of concerning
                                                                 behavior prior to matriculating
                                                                 at UVA including in high
                                                                 school and college.

  Christine Peterson,    Dr. Peterson may be contacted           Dr. Peterson has knowledge of
  M.D.                   through the undersigned counsel for     the School of Medicine’s
                         Defendants.                             professionalism standards,
                                                                 professional requirements for
                                                                 medical practice, the October
                                                                 25, 2018 microaggression panel
                                                                 discussion, student complaints
                                                                 about the Plaintiff’s behavior
                                                                 during that panel discussion,
                                                                 Dr. Kern’s professionalism
                                                                 concern card, the November 14
                                                                 and 28, 2018 ASAC Meetings,
                                                                 interactions between the
                                                                 Plaintiff and Angel Hsu
                                                                 including their relationship
                                                                 history, the Plaintiff’s mental
                                                                 health issues, and the Plaintiff’s


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  Name               Address and Telephone Number          Subjects of Information
                                                           aggressive, threatening, and
                                                           intimidating behavior toward
                                                           Dr. Hsu and Dr. Hsu’s efforts to
                                                           protect herself from the
                                                           Plaintiff, the Plaintiff’s
                                                           difficulties managing his
                                                           medication in the fall of 2018, a
                                                           meeting with the Plaintiff in
                                                           October 2018.

  John Densmore,     Dr. Densmore may be contacted         Dr. Densmore has knowledge
  M.D., PhD          through the undersigned counsel for   of the School of Medicine’s
                     Defendants.                           professionalism standards,
                                                           professional requirements for
                                                           medical practice, the November
                                                           14 and 28, 2018 ASAC
                                                           Meetings, the Plaintiff’s 2017
                                                           psychiatric hospitalization at
                                                           the UVA Medical Center, and
                                                           personally witnessed multiple
                                                           instances of the Plaintiff’s
                                                           inappropriate, aggressive, and
                                                           unprofessional behavior in
                                                           2018.

  Jim Tucker, M.D.   Dr. Tucker may be contacted           Dr. Tucker has knowledge of
                     through the undersigned counsel for   the School of Medicine’s
                     Defendants.                           professionalism standards,
                                                           professional requirements for
                                                           medical practice, and the
                                                           November 14 and 28, 2018
                                                           ASAC Meetings.

  Nora Kern, M.D.    Dr. Kern may be contacted through     Dr. Kern has knowledge of the
                     the undersigned counsel for           October 25, 2018
                     Defendants.                           microaggression panel
                                                           discussion, the resulting
                                                           concern card, the School of
                                                           Medicine’s professionalism
                                                           standards, professional
                                                           requirements for medical
                                                           practice, and the November 14
                                                           and 28, 2018 ASAC Meetings.



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  Name                Address and Telephone Number          Subjects of Information

  Sara Rasmussen,     Dr. Rasmussen may be contacted        Dr. Rasmussen has knowledge
  M.D.                through her counsel:                  of the events that transpired at
                                                            the October 25, 2018
                                                            microaggression panel
                      H. Robert Yates, III
                                                            discussion.
                      O’Hagan Meyer
                      411 E. Franklin, Suite 500
                      Richmond, VA 23219
                      (804) 403-7108
  Melissa Fielding    Deputy Chief Fielding may be          Deputy Chief Fielding has
                      contacted through the undersigned     knowledge of the Plaintiff’s ban
                      counsel for Defendants.               from UVA grounds.

  Edward Markowski    Mr. Markowski may be contacted        The Director of Threat
                      through the undersigned counsel for   Assessment at UVA, Mr.
                      Defendants.                           Markowski has knowledge of
                                                            the Threat Assessment Team’s
                                                            deliberations regarding the
                                                            Plaintiff in November and
                                                            December 2018, and the
                                                            grounds for the ‘no trespass
                                                            warning’ issued against the
                                                            Plaintiff.

  Roger Abounader,    Dr. Abounader may be contacted        Dr. Abounader has knowledge
  M.D., PhD           through the undersigned counsel for   of the School of Medicine’s
                      Defendants.                           professionalism standards,
                                                            professional requirements for
                                                            medical practice, and the
                                                            November 28, 2018 ASAC
                                                            Meeting.

  Brian Behm, M.D.    Dr. Behm may be contacted through     Dr. Behm has knowledge of the
                      the undersigned counsel for           School of Medicine’s
                      Defendants.                           professionalism standards,
                                                            professional requirements for
                                                            medical practice, and the
                                                            November 14 and 28, 2018
                                                            ASAC Meetings.

  Robert Bloodgood,   Dr. Bloodgood may be contacted        Dr. Bloodgood has knowledge
  M.D.                through the undersigned counsel for   of the School of Medicine’s
                      Defendants.                           professionalism standards,
                                                            professional requirements for
                                                            medical practice, and the

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  Name                   Address and Telephone Number          Subjects of Information
                                                               November 28, 2018 ASAC
                                                               Meeting.

  Donna Chen, M.D.       Dr. Chen may be contacted through     Dr. Chen has knowledge of the
                         the undersigned counsel for           School of Medicine’s
                         Defendants.                           professionalism standards,
                                                               professional requirements for
                                                               medical practice, and the
                                                               November 14 and 28, 2018
                                                               ASAC Meetings.

  Sharon Diamond-        Dr. Diamond-Myrsten may be            Dr. Diamond-Myrsten has
  Myrsten, M.D.          contacted through the undersigned     knowledge of the School of
                         counsel for Defendants.               Medicine’s professionalism
                                                               standards, professional
                                                               requirements for medical
                                                               practice, and the November 28,
                                                               2018 ASAC Meeting.

  Nicholas Intagliata,   Dr. Intagliata may be contacted       Dr. Intagliata has knowledge of
  M.D.                   through the undersigned counsel for   the School of Medicine’s
                         Defendants.                           professionalism standards,
                                                               professional requirements for
                                                               medical practice, and the
                                                               November 14 and 28, 2018
                                                               ASAC Meetings.

  Wilson Miller, PhD     Dr. Miller may be contacted through   Dr. Miller has knowledge of the
                         the undersigned counsel for           School of Medicine’s
                         Defendants.                           professionalism standards,
                                                               professional requirements for
                                                               medical practice, and the
                                                               November 14 and 28, 2018
                                                               ASAC Meetings.

  Barnett Nathan,        Dr. Nathan may be contacted           Dr. Nathan has knowledge of
  M.D.                   through the undersigned counsel for   the School of Medicine’s
                         Defendants.                           professionalism standards,
                                                               professional requirements for
                                                               medical practice, and the
                                                               November 14 and 28, 2018
                                                               ASAC Meetings.




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  Name                  Address and Telephone Number          Subjects of Information

  Catherine Shaffrey,   Dr. Shaffrey may be contacted         Dr. Shaffrey has knowledge of
  M.D.                  through the undersigned counsel for   the School of Medicine’s
                        Defendants.                           professionalism standards,
                                                              professional requirements for
                                                              medical practice, and the
                                                              November 14 and 28, 2018
                                                              ASAC Meetings

  Mackenzie Sullivan,   Brigham and Women’s Hospital          Dr. Sullivan has knowledge of
  M.D.                  75 Francis St.                        the ASAC’s 2018 decisions to
                        Boston, MA 02115                      admonish and suspend the
                                                              Plaintiff from the School of
                                                              Medicine.

  Brielle Ochoa         Medical Univ. of South Carolina       Dr. Ochoa has knowledge of the
  (formerly Brielle     169 Ashley Avenue, Room 202           Plaintiff’s behavior during the
  Gerry), M.D.          Charleston, SC 29425                  October 25, 2018
                                                              microaggression panel
                                                              discussion, the ASAC’s 2018
                                                              decisions to admonish Plaintiff,
                                                              and concerns communicated to
                                                              medical school faculty
                                                              members about Plaintiff’s
                                                              behavior subsequent to his
                                                              suspension.

  Megan Bray, M.D.      Dr. Bray may be contacted through     Dr. Bray has knowledge of the
                        the undersigned counsel for           School of Medicine’s
                        Defendants.                           professionalism standards,
                                                              professional requirements for
                                                              medical practice, and the
                                                              November 14 and 28, 2018
                                                              ASAC Meetings.

  Lesley Thomas         Ms. Thomas may be contacted           Ms. Thomas has knowledge of
                        through the undersigned counsel for   the School of Medicine’s
                        Defendants.                           professionalism standards, the
                                                              November 14 and 28, 2018
                                                              ASAC Meetings, and student
                                                              complaints about the Plaintiff’s
                                                              behavior at the October 25,
                                                              2018 panel discussion.




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  Name                 Address and Telephone Number          Subjects of Information

  Katherine Yates      Ms. Yates may be contacted through    Ms. Yates has knowledge of the
                       the undersigned counsel for           ASAC’s 2018 decisions to
                       Defendants.                           admonish and suspend the
                                                             Plaintiff from the School of
                                                             Medicine.

  Heather Newcomb      (434) 972-1800                        Ms. Newcomb has knowledge
                       Region Ten Community Services         of the Plaintiff’s behavior and
                       Board                                 mental state in November 2018.
                       800 Preston Ave.
                       Charlottesville, VA 22903

  Catherine Richard,   435 Merchant Walk Sq. Ste. 300-       Ms. Richard has knowledge of
  L.P.C.               512                                   the Plaintiff’s behavior and
                       Charlottesville, VA 22902-6514        mental state on November 14,
                       (434) 204-4265                        2018, when he was
                                                             involuntarily committed to a
                                                             hospital for mental health
                                                             reasons.

  Nicole Ruzek         Ms. Ruzek may be contacted            Ms. Ruzek has knowledge of
                       through the undersigned counsel for   various complaints about the
                       Defendants.                           Plaintiff’s behavior and mental
                                                             state in 2018, his psychiatric
                                                             hospitalizations in 2017 and
                                                             2018, the Threat Assessment
                                                             Team’s deliberations regarding
                                                             the Plaintiff in November and
                                                             December 2018, and the
                                                             grounds for the ‘no trespass
                                                             warning’ issued against the
                                                             Plaintiff.

  Michael Kalinksy     (434) 972-1800                        Mr. Kalinsky may have
                       Region Ten Community Services         knowledge of the Plaintiff’s
                       Board                                 behavior and mental state on
                       800 Preston Ave.                      November 19, 2018, when was
                       Charlottesville, VA 22903             involuntarily committed to a
                                                             hospital for mental health
                                                             reasons.

  Hannah Trible        (434) 972-1800                        Ms. Trible may have
                       Region Ten Community Services         knowledge of the Plaintiff’s
                       Board                                 behavior and mental state on
                                                             November 19, 2018 when he

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  Name                Address and Telephone Number            Subjects of Information
                      800 Preston Ave.                        was involuntarily committed to
                      Charlottesville, VA 22903               a hospital for mental health
                                                              reasons.

  Randy Canterbury,   Dr. Canterbury may be contacted         Dr. Canterbury has knowledge
  M.D.                through the undersigned counsel for     of the School of Medicine’s
                      Defendants.                             professionalism standards and
                                                              the requirement that the
                                                              Plaintiff seek counseling and
                                                              obtain medical clearance before
                                                              returning to class in November
                                                              2018. He also has knowledge of
                                                              complaints about the Plaintiff’s
                                                              behavior in 2018 and limited
                                                              knowledge of the Plaintiff’s
                                                              hospitalizations.

  Angel Hsu, M.D.     Defense counsel will provide Dr.        Dr. Hsu has knowledge of the
                      Hsu’s contact information as            Plaintiff’s aggressive, abusive,
                      Exhibit A to these Initial              unprofessional, and
                      Disclosures once the parties have a     inappropriate behavior in 2017,
                      protective order in place prohibiting   2018, and 2019.
                      the disclosure of this information to
                      the Plaintiff.

  Laurie Casteen      Ms. Casteen may be contacted            Ms. Casteen has knowledge
                      through the undersigned counsel for     related to the Plaintiff’s ban
                      Defendants.                             from UVA grounds.

  Chris Easton        Captain Easton may be contacted         Captain Easton may have
                      through the undersigned counsel for     knowledge of the Plaintiff’s
                      Defendants.                             behavior on November 19,
                                                              2018 in the context of an
                                                              emergency custody order and
                                                              911 call to which Captain
                                                              Easton responded and of which
                                                              the Plaintiff was the subject.

  Gloria Graham       Margolis Healy                          Ms. Graham has knowledge of
                      Maple Tree Place - Suite #255           the Plaintiff’s ban from
                      121 Connor Way, Williston, VT           grounds.
                      05495
                      866.817.5817




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   Name              Address and Telephone Number          Subjects of Information

   Ben Rexrode       Sergeant Rexrode may be contacted     Sergeant Rexrode of the UVA
                     through the undersigned counsel for   Police Department may have
                     Defendants.                           knowledge the Plaintiff’s
                                                           inappropriate, aggressive, and
                                                           unprofessional behavior and his
                                                           ban from grounds.

   Susan Davis       Ms. Davis may be contacted through    Ms. Davis has knowledge
                     the undersigned counsel for           related to the Plaintiff’s ban
                     Defendants.                           from grounds.

   Dean Dotts        Albemarle County Police               Formerly employed by the
                     1600 5th Street, Suite D              UVA Police Department,
                     Charlottesville, VA 22902             Officer Dotts may have
                     434-296-5807                          knowledge of the Plaintiff’s
                                                           behavior on November 14,
                                                           2018 when he took the Plaintiff
                                                           into custody pursuant to an
                                                           Emergency Custody Order

   Tabitha Enoch     Ms. Enoch may be contacted            Ms. Enoch has knowledge
                     through the undersigned counsel for   related to the Plaintiff’s ban
                     Defendants.                           from grounds.

   Jaileen Grogan    (434) 972-1800                        Ms. Grogan may have
                     Region Ten Community Services         knowledge of the Plaintiff’s
                     Board                                 behavior and mental state on
                     800 Preston Ave.                      November 14, 2018 due to a
                     Charlottesville, VA 22903             psychological examination that
                                                           led her to request a temporary
                                                           detention order to a
                                                           Charlottesville magistrate.

   Brandon Michael   Albemarle County Sheriff’s Office     Officer Smoot, who was
   Smoot             411 East High Street                  formerly employed by the UVA
                     Charlottesville, VA 22902             Police Department, has
                     (434) 972-4001                        knowledge of the Plaintiff’s
                                                           behavior on November 19,
                                                           2018 when he responded to a
                                                           911 emergency phone call.

   Edward Thompson   UVA Police Officer Thompson may       Officer Thompson may have
                     be contacted through the              knowledge of the Plaintiff’s
                     undersigned counsel for Defendants.   behavior on November 14,
                                                           2018 when he executed a

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   Name                 Address and Telephone Number          Subjects of Information
                                                              Temporary Detention Order on
                                                              the Plaintiff. He also has
                                                              knowledge of the Plaintiff’s ban
                                                              from grounds.

   Tommye Sutton        Chief Sutton’s address is presently   Chief Sutton may have
                        unknown.                              knowledge of the Plaintiff’s ban
                                                              from grounds.

   Roxanne              70 Hale Pili Way                      Dr. Bhattacharya has
   Bhattacharya, M.D.   Haiku, HI 96708                       knowledge of the Plaintiff’s
                                                              inappropriate and aggressive
                                                              behavior in 2018.

   Pamila Herrington,   Dr. Herrington may be contacted       Dr. Herrington has knowledge
   M.D.                 through her counsel:                  of the School of Medicine’s
                                                              professionalism standards,
                                                              professional requirements for
                        Rosalie Fessier
                                                              medical practice, the November
                        TimberlakeSmith
                                                              14, 2018 ASAC meeting, and
                        PO Box 108
                                                              Mr. Bhattacharya’s January
                        Staunton, VA 24402
                                                              2017 and November 2018
                        (540) 885-1517
                                                              psychiatric hospitalizations

   Joanne C. Mendoza,   Dr. Mendoza may be contacted          Dr. Mendoza has knowledge of
   M.D.                 through the undersigned counsel for   Mr. Bhattacharya’s demeanor
                        Defendants.                           and behavior during his
                                                              Foundations of Clinical
                                                              Medicine class during the fall
                                                              2018 semester

   Yusuf Ali, M.D.      (561) 676-9099                        Dr. Ali went to medical school
                        22 S. Greene Street                   with the Plaintiff and has
                        Baltimore, MD 21201                   knowledge of the Plaintiff’s
                                                              behavior during the October 25,
                                                              2018 microaggression panel
                                                              discussion.

   John T. Morgan,      2101 Taubman Center                   Dr. Morgan went to medical
   M.D.                 1500 E. Medical Ctr. Dr.              school with the Plaintiff and
                        Ann Arbor, MI 48109                   may have knowledge of Mr.
                                                              Bhattacharya’s behavior during
                                                              the October 25, 2018
                                                              microaggression panel
                                                              discussion and of concerns

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   Name                   Address and Telephone Number         Subjects of Information
                                                               communicated to medical
                                                               school faculty members about
                                                               Plaintiff’s behavior subsequent
                                                               to his suspension.

   Ian Smith, M.D.        (703) 408-2456                       Dr. Smith went to medical
                          Dr. Smith’s address is presently     school with the Plaintiff and has
                          unknown.                             knowledge of the Plaintiff’s
                                                               behavior during the October 25,
                                                               2018 microaggression panel
                                                               discussion.

   Olivia Chafitz         (443) 790-0123                       Dr. Chafitz went to medical
   (formerly Olivia       30 Prospect Avenue                   school with the Plaintiff and has
   Payne), M.D.           Hackensack, NJ 07601                 knowledge of the Plaintiff’s
                                                               behavior during the October 25,
                                                               2018 microaggression panel
                                                               discussion.

   Adriana Lee Irvine,    Duke University School of Medicine   Dr. Irvine went to medical
   M.D.                   Department of Anesthesiology         school with the Plaintiff and has
                          Durham, NC 27710                     knowledge of the Plaintiff’s
                          (540) 250-7283                       behavior during the October 25,
                                                               2018 microaggression panel
                                                               discussion.

   Natalie Savini, M.D.   Scripps Green Hospital               Dr. Savini went to medical
                          10666 N. Torrey Pines Rd.            school with the Plaintiff and has
                          La Jolla, CA 92037                   knowledge of the Plaintiff’s
                          (408) 858-4934                       behavior during the October 25,
                                                               2018 microaggression panel
                                                               discussion.

   Jason Robart, M.D.     Dr. Robart’s address is presently    Dr. Robart went to medical
                          unknown                              school with the Plaintiff and has
                                                               knowledge of concerns
                                                               communicated to medical
                                                               school faculty members about
                                                               Plaintiff’s behavior subsequent
                                                               to his suspension.

   Lindsay N. Carlson,    UVA Office of University Counsel     A resident physician at the
   M.D.                   Madison Hall                         UVA Medical Center, Dr.
                          P. O. Box 400225                     Carlson has knowledge of Mr.
                                                               Bhattacharya’s concerning

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   Name                 Address and Telephone Number       Subjects of Information
                        Charlottesville, VA 22904          behavior and mental instability
                        (434) 924-3586                     in November 2018 during an
                                                           emergency psychiatric
                                                           hospitalization.

   Katherine Murray,    UVA Office of University Counsel   A psychiatry resident at UVA
   M.D.                 Madison Hall                       Medical Center, Dr. Murray has
                        P. O. Box 400225                   knowledge of Mr.
                        Charlottesville, VA 22904          Bhattacharya’s concerning
                        (434) 924-3586                     behavior and mental instability
                                                           in November 2018 during an
                                                           emergency psychiatric
                                                           hospitalization

   Courtney Schempp     UVA Office of University Counsel   Nurse Schempp has knowledge
   RN                   Madison Hall                       of Mr. Bhattacharya’s
                        P. O. Box 400225                   concerning behavior and mental
                        Charlottesville, VA 22904          instability in November 2018
                        (434) 924-3586                     during an emergency
                                                           psychiatric hospitalization.

   Margaret K. Sande,   UVA Office of University Counsel   An emergency medicine
   M.D., M.S.,          Madison Hall P. O. Box 400225      physician, Dr. Sande has
   MSHPEd               Charlottesville, VA 22904 (434)    knowledge of Mr.
                        924-3586                           Bhattacharya’s concerning
                                                           behavior and mental instability
                                                           in November 2018 during an
                                                           emergency psychiatric
                                                           hospitalization.

   Patrick Stafford,    UVA Office of University Counsel   A resident physician at UVA
   M.D.                 Madison Hall                       Medical Center, Dr. Stafford
                        P. O. Box 400225                   has knowledge of Mr.
                        Charlottesville, VA 22904          Bhattacharya’s concerning
                        (434) 924-3586                     behavior and mental instability
                                                           in November 2018 during an
                                                           emergency psychiatric
                                                           hospitalization.

   Jordan Rosen, M.D.   Brigham and Women’s Hospital       Dr. Rosen has knowledge of
                        Department of Psychiatry           Mr. Bhattacharya’s concerning
                        75 Francis Street                  behavior and mental instability
                        Boston, MA 02115                   in November 2018 during an
                        (617) 732-5500                     emergency psychiatric
                                                           hospitalization.

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   Name                 Address and Telephone Number          Subjects of Information

   Winifred Wolfe,      Child and Adolescent Psychiatry       A former psychiatry resident at
   M.D.                 Fellow at Thomas Jefferson            the UVA School of Medicine,
                        University Hospitals, Philadelphia,   Dr. Wolfe has knowledge of
                        PA                                    Mr. Bhattacharya’s concerning
                        833 Chestnut East, Suite 210          behavior and mental instability
                        Philadelphia, PA 19107                in November 2018 during an
                        (215) 955-8570                        emergency psychiatric
                                                              hospitalization.
                        UVA Office of University Counsel
                        Madison Hall
                        P. O. Box 400225
                        Charlottesville, VA 22904
                        (434) 924-3586

   Asheema Saripalli,   Aurora Health Care in Wisconsin       A former psychiatry resident at
   M.D.                 Medical College of Wisconsin          the UVA School of Medicine,
                        Milwaukee, WI 53201                   Dr. Saripalli has knowledge of
                                                              Mr. Bhattacharya’s concerning
                        UVA Office of University Counsel      behavior and mental instability
                        Madison Hall                          in November 2018 during an
                        P. O. Box 400225                      emergency psychiatric
                        Charlottesville, VA 22904             hospitalization.
                        (434) 924-3586

   Thomas Ball, M.D.    UVA Office of University Counsel      A psychiatry fellow at the UVA
                        Madison Hall                          School of Medicine, Dr. Ball
                        P. O. Box 400225                      has knowledge of Mr.
                        Charlottesville, VA 22904             Bhattacharya’s concerning
                        (434) 924-3586                        behavior and mental instability
                                                              in November 2018 during an
                                                              emergency psychiatric
                                                              hospitalization
                        UVA Office of University Counsel
   Andy Thomson,                                              A psychiatrist at CAPS, Dr.
                        Madison Hall
   M.D.                                                       Thomson has knowledge of the
                        P. O. Box 400225
                                                              status of the Plaintiff’s mental
                        Charlottesville, VA                   health in early 2017 when he
                        22904                                 professionally examined and
                        (434) 924-3586                        assessed the Plaintiff.

   Sean W. Reed, M.D.   Dr. Reed may be contacted through     As one of the four School of
                        the undersigned counsel for           Medicine college deans, Dr.
                        Defendants.                           Reed has knowledge of the
                                                              November 14, 2018 ASAC


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   Name                 Address and Telephone Number          Subjects of Information
                                                              meeting and may have
                                                              additional knowledge of Mr.
                                                              Bhattacharya’s concerning
                                                              behavior at and around that
                                                              time.

   David L. Heilberg    416 Park St.                          As Mr. Bhattacharya’s former
                        Charlottesville, VA 22902             legal counsel, Mr. Heilberg has
                        (434) 284-6866                        knowledge of Mr.
                                                              Bhattacharya’s behavior in
                                                              November and December 2018
                                                              and discussions with UVA
                                                              about Mr. Bhattacharya’s
                                                              suspension and related matters.

   Director of          Staff Sgt. Frazier may be contacted   A member of the UVA Police
   Security/Security    through the undersigned counsel for   Department, Staff Sgt. Frazier
   Staff Sgt. Anthony   Defendants.                           has knowledge of Mr.
   Frazier                                                    Bhattacharya’s behavior during
                                                              his psychiatric hospitalization
                                                              in January 2017 and in
                                                              November 2018.

   Michael Gerard       Dr. Reed may be contacted through     Dr. Mason has knowledge of
   Mason, Ph.D          the undersigned counsel for           the Plaintiff’s behavior and
                        Defendants.                           mental state on November 14,
                                                              2018, when he was
                                                              involuntarily committed to a
                                                              hospital for mental health
                                                              reasons.

   Thomas Wilson        Police Officer Wilson may be          A member of the UVA Police
                        contacted through the undersigned     Department, Staff Sgt. Frazier
                        counsel for Defendants.               has knowledge of Mr.
                                                              Bhattacharya’s behavior during
                                                              his psychiatric hospitalization
                                                              in November 2018.

   Dreshawn Burton      UVA Security Officer Burton may       A member of the UVA Police
                        be contacted through the              Department, Staff Sgt. Frazier
                        undersigned counsel for Defendants.   has knowledge of Mr.
                                                              Bhattacharya’s behavior during
                                                              his psychiatric hospitalization
                                                              in November 2018.


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   Name               Address and Telephone Number          Subjects of Information

   Craig Lesher       A former Security Officer for UVA,    Former UVA Security Officer
                      Craig Lesher’s contact information    Lesher has knowledge of Mr.
                      is currently unknown.                 Bhattacharya’s behavior during
                                                            his psychiatric hospitalization
                                                            in November 2018.

   AmJad Awadh Al     Police Officer AmJad Awadh Al         Officer Al srya has knowledge
   srya               srya may be contacted through the     of Mr. Bhattacharya’s behavior
                      undersigned counsel for Defendants.   during his psychiatric
                                                            hospitalization in November
                                                            2018.

   Kelly Robeson      A former Security Officer for UVA, Former UVA Security Officer
                      Kelly Robeson’s contact information Kelly Robeson has knowledge
                      is currently unknown.               of Mr. Bhattacharya’s behavior
                                                          during his psychiatric
                                                          hospitalization in November
                                                          2018.

   Nicholas           UVA Security Officer Nicholas         Security Officer Nicholas has
   Bumgardner         Bumgardner may be contacted           knowledge of Mr.
                      through the undersigned counsel for   Bhattacharya’s behavior during
                      Defendants.                           his psychiatric hospitalization
                                                            in November 2018.

   Nikara Feasey      UVA Security Corporal Nikara          Security Corporal Nikara
                      Feasey may be contacted through       Feasey has knowledge of Mr.
                      the undersigned counsel for           Bhattacharya’s behavior during
                      Defendants.                           his psychiatric hospitalization
                                                            in November 2018.
                      Loma Lunda University Medical
   Peter Kehr, M.D.                                         Dr. Kehr has knowledge of Mr.
                      Center                                Bhattacharya’s concerning
                      11234 Anderson St.
                                                            behavior and mental instability
                      Loma Linda, CA 92354                  during Fall 2016 and Spring
                      (909) 558-4000                        2017.
                      St. Bernard Parish Hospital
   Joshua Ginsburg,                                         Dr. Ginsburg has knowledge of
                      8000 W. Judge Perez Dr.
   M.D.                                                     Mr. Bhattacharya’s behavior
                      Chalmette, LA 70043                   and mental instability during his
                      (504) 826-9500                        psychiatric hospitalization in
                                                            January 2017.




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   Name                 Address and Telephone Number         Subjects of Information
                        University of Hawaii Maui College
   Debasis                                                   Debasis Bhattacharya has
                        310 W. Kaahumanu Avenue
   Bhattacharya                                              knowledge of Kieran
                        Kahului, HI 96732                    Bhattacharya’s behavior and
                        (808) 984-3619                       mental instability from Kieran
                                                             Bhattacharya’s birth through
                                                             the present, including his
                                                             psychiatric hospitalizations in
                                                             January 2017 and in November
                                                             2018.
                        Vanderbilt University Medical
   Joshua Ryan Smith,                                        Dr. Smith has knowledge of
                        Center
   M.D.                                                      Mr. Bhattacharya’s behavior
                        1211 Medical Center Dr.              and mental instability during his
                        Nashville, TN 37232
                                                             psychiatric hospitalization in
                        (615) 322-5000
                                                             January 2017.
                        411 8th St. NE
   Charles Moseley,                                          Dr. Moseley has knowledge of
                        Charlottesville, VA 22902
   M.D.                                                      Mr. Bhattacharya’s behavior
                        (434) 979-1902                       and mental health condition in
                                                             2017 and 2018.
                        Ms. Coleman’s address is currently
   Stephanie Coleman                                         Ms. Coleman has knowledge of
                        unknown.                             Mr. Bhattacharya’s behavior
                                                             and mental instability during his
                                                             psychiatric hospitalization in
                                                             January 2017.
                        UVA Office of University Counsel
   Leonard “Lenny”                                           Mr. Carter has knowledge of
                        Madison Hall
   Carter, LPC                                               Mr. Bhattacharya’s behavior
                        P. O. Box 400225                     and mental instability before his
                        Charlottesville, VA 22904            psychiatric hospitalization in
                        (434) 924-3586
                                                             January 2017.
                        UVA Office of University Counsel
   Justin Smith, M.D.                                        Dr. Smith has knowledge of
                        Madison Hall                         Mr. Bhattacharya’s behavior
                        P. O. Box 400225                     and mental instability during his
                        Charlottesville, VA 22904            psychiatric hospitalization in
                        (434) 924-3586                       January 2017.
                        UVA Office of University Counsel
   Matthew Vanden                                            Dr. Hoek has knowledge of Mr.
                        Madison Hall
   Hoek, M.D.                                                Bhattacharya’s behavior and
                        P. O. Box 400225                     mental instability during his
                        Charlottesville, VA 22904            psychiatric hospitalization in
                        (434) 924-3586                       January 2017.


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   Name                 Address and Telephone Number        Subjects of Information
                        UVA Office of University Counsel
   Karen Painter, LPC                                       Mr. Painter has knowledge of
                        Madison Hall
                                                            Mr. Bhattacharya’s behavior
                        P. O. Box 400225                    and mental instability before
                        Charlottesville, VA 22904           and during his psychiatric
                        (434) 924-3586                      hospitalization in January 2017.
                        UVA Office of University Counsel
   Meg Keeley, M.D.                                         As one of the four School of
                        Madison Hall                        Medicine college deans, Dr.
                        P. O. Box 400225                    Keeley has knowledge of the
                        Charlottesville, VA 22904           November 14, 2018 ASAC
                        (434) 924-3586                      meeting and may have
                                                            additional knowledge of Mr.
                                                            Bhattacharya’s concerning
                                                            behavior at and around that
                                                            time.
                        UVA Office of University Counsel
   Brenda Barrett                                           Ms. Barrett has knowledge of
                        Madison Hall                        Mr. Bhattacharya’s behavior
                        P. O. Box 400225                    and mental instability during his
                        Charlottesville, VA 22904           psychiatric hospitalization in
                        (434) 924-3586                      November 2018.
                        Syracuse University, Chancellor’s
   Allen Groves                                             Former Dean Groves may have
                        Office                              knowledge the Plaintiff’s
                        Crouse-Hinds Hall, Suite 600        inappropriate, aggressive, and
                        900 South Crouse Avenue             unprofessional behavior and his
                        Syracuse, NY 13244                  ban from grounds.
                        (315) 443-2235
                        UVA Office of University Counsel
   Elizabeth Bradley,                                       Dr. Bradley has knowledge
                        Madison Hall
   PhD                                                      about posts Mr. Bhattacharya
                        P. O. Box 400225                    made on Twitter and Mr.
                        Charlottesville, VA 22904           Bhattacharya’s communications
                        (434) 924-3586                      with Jason Kessler.
                        UVA Office of University Counsel
   Gabrielle R.                                             Dr. Marzani has knowledge
                        Madison Hall
   Marzani, M.D.                                            about Kieran Bhattacharya and
                        P. O. Box 400225                    Debasis Bhattacharya’s visit to
                        Charlottesville, VA 22904           the School of Medicine’s
                        (434) 924-3586                      Admissions Office in December
                                                            2018.
                        UVA Office of University Counsel
   Catherine Zisk,                                          Dr. Zisk may have knowledge
                        Madison Hall
   M.D.                                                     about Mr. Bhattacharya’s
                        P. O. Box 400225                    interaction with UVA 5 East


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   Name                 Address and Telephone Number          Subjects of Information
                        Charlottesville, VA 22904             staff during Mr. Bhattacharya’s
                        (434) 924-3586                        psychiatric hospitalization in
                                                              January 2017.

   Sahitya Allam, M.D. Dr. Allam’s address is presently       Dr. Allam may have knowledge
                       unknown.                               about Mr. Bhattacharya’s
                                                              psychiatric hospitalization in
                                                              November 2018.
                        Retired Officer McGee’s address is
   Donald McGee                                               Officer McGee has knowledge
                        presently unknown.                    about the FOIA request Mr.
                                                              Bhattacharya sent to the
                                                              University.

   Austin Branstetter   Mr. Branstetter’s address is          Mr. Branstetter may have
                        presently unknown.                    knowledge of Mr.
                                                              Bhattacharya’s no trespass
                                                              order issued by the Tuscaloosa
                                                              Police Department.

   Mazin Elsarrag       Mr. Elsarrag’s address is presently   Mazin has knowledge of Mr.
                        unknown.                              Bhattacharya’s unprofessional
                                                              behavior, which led to his
                                                              suspension from the School of
                                                              Medicine.

   Deepti Athalye       UVA Office of University Counsel      Associate director at CAPS,
                        Madison Hall                          Ms. Athalye has knowledge of
                        P. O. Box 400225                      the Plaintiff’s requests to CAPS
                        Charlottesville, VA                   staff to participate in meetings
                        22904                                 and Plaintiff’s ban from
                                                              grounds.
                        (434) 924-3586

   Erin Tracy           UVA Office of University Counsel      A psychologist at CAPS, Ms.
                        Madison Hall                          Tracy may have knowledge of
                        P. O. Box 400225                      Plaintiff’s treatment with CAPS
                        Charlottesville, VA                   and his involuntary
                        22904                                 commitments in November
                                                              2018.
                        (434) 924-3586
                        UVA Office of University Counsel
   James Moak, M.D.                                           Dr. Moak has knowledge of the
                        Madison Hall                          Plaintiff’s behavior and mental
                        P. O. Box 400225                      state on November 14, 2018,
                        Charlottesville, VA                   when he was involuntarily
                        22904

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   Name                 Address and Telephone Number          Subjects of Information
                                                              committed to a hospital for
                        (434) 924-3586
                                                              mental health reasons.

   Kiah Porter          UVA Police Sergeant Porter may be     Sergeant Porter has knowledge
                        contacted through the undersigned     of the Plaintiff’s ban from
                        counsel for Defendants.               grounds.

   Michael Henry        UVA Police Property and Evidence      Sergeant Henry may have
                        Sergeant Henry may be contacted       knowledge of the Plaintiff’s ban
                        through the undersigned counsel for   from grounds.
                        Defendants.

   Matthew              UVA Office of University Counsel      A psychologist at CAPS, Mr.
   Zimmerman            Madison Hall                          Zimmerman has knowledge of
                        P. O. Box 400225                      Plaintiff’s treatment with
                        Charlottesville, VA                   CAPS, his involuntary
                        22904                                 commitments in November
                                                              2018, and Plaintiff’s ban from
                        (434) 924-3586
                                                              grounds.

   Rafael Triana        Mr. Triana’s address is presently     A licensed clinical social
                        unknown.                              worker formerly with CAPS,
                                                              Mr. Triana may have
                                                              knowledge of Plaintiff’s
                                                              treatment with CAPS and his
                                                              involuntary commitments in
                                                              November 2018.

   Sarah Cooper         Ms. Cooper’s address is presently     A licensed clinical social
                        unknown.                              worker formerly with CAPS,
                                                              Ms. Cooper has knowledge of
                                                              the Plaintiff’s interactions with
                                                              CAPS and Plaintiff’s
                                                              involuntary commitments in
                                                              November 2018.

   Stephen Culp, M.D.   Dr. Culp may be contacted through     Dr. Culp has knowledge of the
                        the undersigned counsel for           School of Medicine’s
                        Defendants.                           professionalism standards,
                                                              professional requirements for
                                                              medical practice, and the
                                                              November 14, 2018 ASAC
                                                              Meeting.




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   Name                    Address and Telephone Number             Subjects of Information

   Selina Noramly          Ms. Noramly’s address is presently       Ms. Noramly has knowledge of
                           unknown.                                 the School of Medicine’s
                                                                    professionalism standards and
                                                                    the November 14, 2018 ASAC
                                                                    Meeting.

   Abigail Bradford        Ms. Bradford’s address is presently      Ms. Bradford has knowledge of
                           unknown.                                 Mr. Bhattacharya’s aggressive
                                                                    behavior and verbal altercation
                                                                    on November 18, 2018, at 820
                                                                    Cabell Avenue B
                                                                    Charlottesville, Virginia.

   Any and all staff at    Poplar Springs Hospital                  The treating staff at Poplar
   the Poplar Springs      350 Poplar Drive                         Springs Hospital, including but
   Hospital who treated    Petersburg, VA 23805                     not limited to therapists, nurses,
   Mr. Bhattacharya in     (804) 733-6874                           and physicians, have knowledge
   November 2018, as                                                of Plaintiff’s behavior during
   reflected in medical                                             his psychiatric hospitalization
   records in Mr.                                                   there in November 2018.
   Bhattacharya’s
   possession

   Any and all staff at    UVA Office of University Counsel         The treating staff at the UVA
   the UVA Medical         Madison Hall                             Medical Center, including but
   who treated Mr.         P. O. Box 400225                         not limited to therapists, nurses,
   Bhattacharya in         Charlottesville, VA 22904                and physicians, have knowledge
   November 2018 or        (434) 924-3586                           of Plaintiff’s behavior during
   January 2017, as                                                 his psychiatric hospitalizations
   reflected in medical                                             there.
   records in Mr.
   Bhattacharya’s
   possession

  II.     Rule 26(a)(1)(A)(ii)

          A copy – or a description by category and location – of all documents, electronically

  stored information, and tangible things that the disclosing party has in its possession, custody, or

  control and may use to support its claims or defenses, unless the use would be solely for

  impeachment.


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         Response: The Defendants object to the production of documents subject to the attorney-

  client and executive privileges, otherwise protected by work-product doctrine, and/or protected

  from disclosure by Court seal or other confidentiality. By listing these documents, the

  Defendants do not concede that any particular document is relevant or admissible. The

  Defendants object to the production of documents, including but not limited to documents that

  could compromise an individual’s physical safety, absent a protective order. Subject to and

  without waiving the foregoing objections, the Defendants identify the following classes of

  documents which may be used to support their defenses:

   Category                                          Location

   Plaintiff’s medical records                       UVA Medical Center

   Plaintiff’s counseling records                    UVA Department of Student Health and
                                                     Wellness
   Plaintiff’s student records                       UVA School of Medicine

   School of Medicine policy and procedure           UVA School of Medicine
   records
   Faculty and administration correspondence         Various UVA School of Medicine faculty and
                                                     administration email accounts
   Police records and correspondence                 UVA Police Department

   Threat Assessment Team Records, policy, and UVA Department of Safety and Security
   procedure
   Academic Standards and Achievement          UVA School of Medicine
   Committee Records
   Emails of UVA faculty and administrators    Email inboxes of various faculty and
                                               administrators at UVA

         In addition to the foregoing, the Defendants reserve the right to rely on and identify any

  documents listed by the Plaintiff in his Initial Disclosures, and those documents attached to,

  relied upon, or otherwise referenced in the First Amended Complaint, and any documents

  identified in discovery.



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  III.   Rule 26(a)(1)(A)(iii)

         A computation of each category of damages claimed by the disclosing party – who must

  also make available for inspection and copying as under Rule 34 the documents or other

  evidentiary material, unless privileged or protected from disclosure, on which each computation

  is based, including materials bearing on the nature and extent of injuries suffered.

         Response: At this time, and without waiving the right to do so in the future, the

  Defendants have not filed any claims against the Plaintiff. Should the Defendants prevail in this

  action and should the circumstances warrant it, the Defendants specifically reserve their right to

  seek against the Plaintiff their attorney’s fees and costs, pursuant to Rule 54 of the Federal Rules

  of Civil Procedure, 42 U.S.C. § 1988, and any other permissible legal avenue of relief.



  IV.    Rule 26(a)(1)(A)(iv)

         For inspection and copying as under Rule 34, any insurance agreement under which an

  insurance business may be liable to satisfy all or part of a possible judgment in the action or to

  indemnify or reimburse for payments made to satisfy the judgment.

         Response:

         The Defendants attach the Commonwealth of Virginia’s “Risk Management Plan” as

  Exhibit B. Please note that the Division of Risk Management is not a “person carrying on an

  insurance business . . . liable to satisfy part or all of a judgment which may be entered in this

  action or to indemnify or reimburse for payments made to satisfy the judgment” and therefore no

  “insurance agreement” exists between the Division of Risk Management and the Defendants.


  Dated: March 24, 2022                                 Respectfully submitted,


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                                            MCGUIREWOODS LLP

                                            /s/ Farnaz F. Thompson
                                            Farnaz F. Thompson (VSB No. 75982)
                                            Brandi G. Howard (admitted pro hac vice)
                                            Michael Brody (admitted pro hac vice)
                                            James Compton (admitted pro hac vice)
                                            888 16th Street N.W. Suite 500
                                            Black Lives Matter Plaza
                                            Washington, DC 20006
                                            Telephone: (202) 857-1700
                                            Facsimile: (202) 828-3358
                                            fthompson@mcguirewoods.com
                                            bhoward@mcguirewoods.com
                                            mbrody@mcguirewoods.com
                                            jcompton@mcguirewoods.com

                                            Evan X. Tucker (VSB No. 95042)
                                            Alicia M. Penn (VSB No. 94937)
                                            800 East Canal Street
                                            Richmond, VA 23219
                                            Telephone: (804) 775-1000
                                            Facsimile: (804) 775-1061
                                            etucker@mcguirewoods.com
                                            apenn@mcguirewoods.com

                                            Jonathan T. Blank (VSB No. 38487)
                                            Micah B. Schwartz (VSB No. 77299)
                                            323 2nd Street SE, Suite 700
                                            Charlottesville, VA 22902
                                            Telephone: (434) 977-2500
                                            Facsimile: (434) 980-2222
                                            jblank@mcguirewoods.com
                                            mschwartz@mcguirewoods.com

                                            Counsel for Defendants James B. Murray,
                                            Jr., Whittington W. Clement, Robert M. Blue,
                                            Mark T. Bowles, L.D. Britt, Frank M. Conner
                                            III, Elizabeth M. Cranwell, Thomas A.
                                            Depasquale, Barbara J. Fried, John A.
                                            Griffin, Louis S. Haddad, Robert D. Hardie,
                                            Maurice A. Jones, Babur B. Lateef, Angela
                                            Hucles Mangano, C. Evans Poston Jr., James
                                            V. Reyes, Peter C. Brunjes, Timothy Longo


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                                            Sr., Melissa Fielding, John J. Densmore, Jim
                                            B. Tucker, Christine Peterson, and Nora
                                            Kern




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this March 24, 2022, the foregoing document was sent via

  electronic mail only to the following:

         Michael J. Lockerby, Esquire
         mlockerby@foley.com
         Counsel for Plaintiff

         H. Robert Yates, III, Esquire
         C. Quinn Adams, Esquire
         ryates@ohaganmeyer.com
         cadams@ohaganmeyer.com
         Counsel for Defendant Dr. Sara Rasmussen




                                           /s/ Farnaz F. Thompson
                                           Farnaz F. Thompson




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